
In re Taylor, Chauncey; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. E, No. 01-4772; to the Court of Appeal, Fifth Circuit, No. 07-KH-420.
Denied. Petitioner’s application for post-conviction relief was denied with an order that conforms to the requirements of *789La. Const. art. V Section 8(B). State v. Taylor, 07-0420 (La.App. 5th Cir. 6/29/07) cf. State v. Cordero, 08-1717 (La.10/3/08) 993 So.2d 203.
WEIMER, J., concurs.
GUIDRY, J., recused.
